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                Exhibit 46
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                                                                                        J. Erik Connolly
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                                              December 11, 2020
VIA EMAIL AND FEDERAL EXPRESS
Charles Herring, President
One America News Network
4757 Morena Boulevard
San Diego, CA 92117
Charles.Herring@oann.com

       Re: Legal Notice and Retraction Demand from Smartmatic USA Corp.
Dear Mr. Herring:
        I am litigation counsel for Smartmatic USA Corp (“Smartmatic”). One America News
Network (“OAN”) has published numerous broadcasts, articles, and postings regarding
Smartmatic in connection with the November 3, 2020 election (the “2020 U.S. election”). I
identify some of those publications below and refer to the totality of your coverage of Smartmatic
in November 2020 through today as the “Reports” for purposes of this letter. I am writing to
provide you Smartmatic’s response to the Reports and put you on notice of potential legal claims.
        OAN has engaged in a concerted disinformation campaign against Smartmatic. OAN told
its viewers and readers that Smartmatic was founded by Hugo Chávez, that its software was
designed to fix elections, and that Smartmatic conspired with others to defraud the American
people and fix the 2020 U.S. election by changing, inflating, and deleting votes. While OAN holds
itself out as a trusted news source, it has continually and repeatedly published demonstrably false
information and defamatory statements about Smartmatic. OAN used its anchors and on-air
guests, including Joe diGenova and Keith Trippie, to spread lies about a company that had
absolutely nothing to do with the voting that took place in areas at the heart of the “conspiracies”
discussed following the 2020 U.S. election.
        Smartmatic was the system integrator, manufacturing partner, and software developer for
one county during the 2020 U.S. election – Los Angeles County, California – and that technology,
developed per County specifications, does not count, tabulate, or store votes. No one has claimed
irregularities in connection with the vote count in Los Angeles County, and no one could because
it was a successful, transparent, and efficient process. Smartmatic’s technology was not used in
any other county, including the states and counties that have received the most attention following
election night. Nor does Smartmatic have any relationship with the company or companies who
supplied voting technology in those states and counties. Smartmatic’s role in the 2020 U.S.
election, while important to the company, was very limited.
        Nonetheless, OAN embarked on a disinformation campaign against Smartmatic shortly
after the election closed and continuing today. Over the course of the campaign, OAN published
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and republished dozens of false and misleading statements regarding Smartmatic. OAN stated and
implied that (1) Smartmatic has a corporate relationship with Dominion Voting Systems
(“Dominion”), (2) Smartmatic has a corrupt relationship with the Venezuelan government,
including Hugo Chávez, (3) Smartmatic’s technology and software were designed and used to fix
elections, (4) Smartmatic’s technology and software were widely used in the 2020 U.S. election,
(5) Smartmatic’s technology and software were used to fix the 2020 U.S. election, (6) Smartmatic
sent votes to foreign countries for tabulation, (7) Smartmatic has ties to the Democratic party and
George Soros, and (8) Smartmatic’s technology and software has numerous security weaknesses.
        All these statements and implications are false and defamatory. Smartmatic is a global
leader in election technology and support services. The over 300 men and women who work at
Smartmatic have dedicated their careers to designing and building the most secure, transparent,
and auditable voting systems in the world. Smartmatic has no ties to dictatorships. Smartmatic
has no relationship with Dominion. Smartmatic had a limited role – one county – in the 2020 U.S.
election. Smartmatic did nothing to justify or warrant the campaign OAN launched against it.
        Smartmatic believes OAN had (and has) no evidence or credible source to support any of
the false and misleading statements it published in the Reports. Indeed, OAN would have easily
discovered the falsity of the statements and implications being made about Smartmatic by
performing even a modicum of investigation. Accurate information was and is readily available
regarding Smartmatic on its website (www.Smartmatic.com). Government agencies and election
officials have published lists showing the providers of election technologies for the 2020 U.S.
election. Both groups also verified the absence of evidence that voting systems deleted, lost, or
changed votes. And, news organizations across the ideological spectrum, including the New York
Times and Washington Post, have “fact checked” the false information published by OAN. Your
statements and implications are factually unsupportable.
        To be clear, my client respects and appreciates the role that news organizations, including
OAN, play in educating readers and viewers. My client likewise appreciates the significant
emotions and passions associated with the recently completed 2020 U.S. election. However,
neither the importance of the role of news organization in our country, nor widespread interest in
the outcome of the 2020 U.S. election, justifies the publication of false information. “[T]here is
no constitutional value in false statements of fact. Neither the intentional lie nor the careless error
materially advances society’s interest in uninhibited, robust, and wide-open debate on public
issues.” Gertz v. Welch, 418 U.S. 323, 340 (1974).
        OAN had no right to defame my client when covering the 2020 U.S. election. Smartmatic
demands a full and complete retraction of all false and defamatory statements and reports published
by OAN. This retraction must be done with the same intensity and level of coverage that you used
to defame the company in the first place. Further, Smartmatic requests that you take all necessary
steps to preserve communications, videos/recordings, documentation, drafts, and all other material
related to the Reports. This letter serves as notice of potential legal claims against OAN, its
reporters, anchors, producers, and on-air guests by my client.
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                   OAN’s False and Defamatory Statements/Implications
        OAN’s disinformation campaign against Smartmatic began in November 2020 and
continues today. The disinformation campaign includes publication and republication of
statements during news programs, on OAN’s website (www.oann.com) and in social media
postings by OAN as well as its reporters and anchors. Examples of OAN’s false and misleading
statements are identified below. Please note that these are just a few examples of the countless
false and defamatory statements and implications made by OAN over the course of its ongoing
campaign.1
Category 1: False statements and implications regarding a corporate relationship between
Smartmatic and Dominion
        Smartmatic has no corporate relationship with Dominion. Smartmatic does not own
Dominion. Dominion does not own Smartmatic. Neither is a parent, subsidiary, or intermediary
of the other. Smartmatic and Dominion are competitors. Notwithstanding these readily verifiable
facts, OAN reported the following:
   Kara McKinney: “It’s also a convenient lie given that Trump attorney, Sidney Powell, says a
    member of Biden’s transition team is also a member of the Board of Directors for Smartmatic,
    which is a subsidiary of Dominion.” (Tipping Point, One America News Network (November
    16, 2020)).

Category 2: False statements and implications regarding a corrupt relationship between
Smartmatic and the Venezuelan government

        Antonio Mugica (CEO) and Roger Piñate (President) are Smartmatic’s founders. The
majority of the company shares are held by their families. The remaining shares (less than 15%)
are held by employees and angel investors.
      Smartmatic was founded in Boca Raton, Florida and incorporated in Delaware.
Smartmatic has maintained its Florida office since its founding. It is not a Venezuelan company.
SGO Corporation Limited, Smartmatic’s parent company, is now headquartered in London. The
Venezuelan government, including Hugo Chávez, did not participate in founding or creating the
company.
       Notwithstanding these readily verifiable facts, OAN published the following:

1
  We have not prepared verbatim transcripts of the Reports, and we do not represent that the
quotations identified below in each category are verbatim accounts of what was said during the
Reports. The quotations represent our attempt to capture what was stated during the Reports,
including adding punctuation to the oral communications. The broadcasts themselves should be
watched for a complete and accurate recitation of what was actually said during the Reports. Any
error in our quotations below is unintentional.
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   On-Screen Graphic: “President’s lawyers claim communist-funded election software
    responsible for alleged voting irregularities.” (One America News Network (November 20,
    2020)).

   Commentator: “Most claims center around the Canadian-made Dominion voting systems and
    the Venezuelan-made Smartmatic systems. Sidney Powell says the same technology was
    used to secure a victory for Hugo Chavez in Venezuela and could’ve been used across the
    country.” (One America News Network (November 20, 2020)).

   OAN Newsroom: “The President’s lawyers are weighing in, once again, on election fraud
    during the 2020 White House race. While speaking in D.C. Thursday, they claimed votes were
    hacked and ballots were switched from President Trump to Joe Biden through technology that
    was developed in Venezuela. Rudy Giuliani, President Trump’s personal lawyer, said the
    company funding the technology has close ties to known communist leaders. ‘The company
    counting our vote, with control over our vote, is owned by two Venezuelans who were allies
    of Chavez or present allies of Maduro,’ he stated.” (President’s Lawyers Say Communist-
    Funded Election Software Responsible For Alleged Voting Irregularities, One America News
    Network, (November 20, 2020), https://www.oann.com/presidents-lawyers-say-communist-
    funded-election-software-responsible-for-alleged-voting-irregularities/).

   Commentator: “This after reports found Maduro allies were meddling in the latest U.S.
    election through a company called Smartmatic.” (One America News Network (November
    22, 2020)).

   Commentator: “The [Organization of American States] says any election that involved
    Maduro officials is a sham and must be not recognized by any civilized country.” (One
    America News Network (November 22, 2020)).

   Kyle Becker: “It is confusing because [] there are foreign companies that have stations in the
    United States . . . [T]here’s you know SGO Smartmatic has been involved in this and they’re
    from London. They have ties to Venezuela. They’ve been participating in Venezuela.”
    (Tipping Point, One America News Network, Interview with Kyle Becker (November 22,
    2020)).

   Rudy Giuliani: “Smartmatic, which is the ultimate software, had switched 6,000 votes. It
    switched 6,000 votes from Trump to Biden. So the poor people of Michigan, that went in to
    vote for Trump, ended up voting for Biden because the machine and software, that originates
    with Venezuela, the dictatorship, changed their vote without their ever knowing it.” (One
    America News Network (November 22, 2020)).

   OAN Newsroom: “Smartmatic has faced controversy in the past with allegations of rigging
    the 2013 election in Venezuela to favor socialist President Nicolas Maduro.” (Chairman Of
    Smartmatic’s Parent Company To Become President Of George Soros’s ‘Open Society
    Foundations’,      One    AMerica       News       Network      (December     7,    2020),
    https://www.oann.com/chairman-of-smartmatics-parent-company-to-become-president-of-
    george-soross-open-society-foundations/).
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Category 3: False statements and implications regarding Smartmatic’s technology and
software being designed and used to fix elections

       Smartmatic has provided election services and support in more than 307 U.S. jurisdictions
and 27 countries in the past 17 years. Smartmatic is an approved Department of Defense vendor
and founding member of the Department of Homeland Security Election Infrastructure Sector
Coordinating Council. Smartmatic’s technology and software were designed to ensure secure,
transparent, and auditable elections. They were not designed and cannot be used to change or alter
votes.
        Smartmatic’s technology safeguards votes at every step of the electoral process and its
record logs are fully auditable. Smartmatic’s technology has been proven effective in audited
elections for almost 20 years. Third-party validators have unequivocally authenticated
Smartmatic’s technology, including the State of California, PwC, and SLI Government Solutions,
one of two accredited U.S. Election Assistance Commission Voting Systems Test Labs. The
United Nations, Organization of American States, and the European Union have also validated
Smartmatic’s technology. The Carter Center has called Smartmatic’s electronic voting solution
“the best in the world.”
         Moreover, Smartmatic has no operations in Venezuela. Smartmatic did election projects
in Venezuela from 2004 to 2017. Smartmatic stopped doing business in Venezuela after
Venezuela’s National Electoral Counsel (“CNE”) announced election results that differed from the
results reflected in Smartmatic’s voting systems. Smartmatic publicly condemned the Venezuelan
election authorities’ announcement of the election results as illegitimate. Smartmatic then ceased
operations in Venezuela.
       Notwithstanding these readily verifiable facts, OAN published the following:
   Kara McKinney: “It’s also a convenient lie given that Trump attorney, Sidney Powell, says a
    member of Biden’s transition team is also a member of the board of directors for Smartmatic,
    which is a subsidiary of Dominion. Small world I guess. Powell claims to have evidence that
    proves the software was designed to rig elections.” (Tipping Point, One America News
    Network (November 16, 2020)).

   Evi Kokalari-Angelakis: “In 2016 Hillary Clinton was so sure she was going to win. And the
    only reason she was so sure she was going to win is because they knew Dominion and the
    software [] – Smartmatic – was in existence and that’s how they were going to get the
    election. They just didn’t expect, they didn’t realize how many Americans were going to vote
    for Donald Trump and that’s probably how they lost that election.” (Real America, One
    America News Network, Interview with Evi Kokalari-Angelakis (November 19, 2020)).

   Dan Ball: “[O]bviously these security folks at Dominion that set up the systems in the
    individual states, they can just do a little tweak here, a little tweak there of the program, and
    it can make it so minor, to flip votes, but enough to make your guy win that hopefully it’s not
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    noticeable [.]” (Real America, One America News Network, Interview with Evi Kokalari-
    Angelakis (November 19, 2020)).

   On-Screen Graphic: “Trump attorney Sidney Powell: voting software ‘designed to rig
    elections’” (In Focus, One America News, Interview with Joe diGenova (November 20,
    2020)).

   Keith Trippie: “What I’d like to see Sidney [Powell] and Rudi [Guliani] do is, they need to talk
    to people over at Dominion and over at Smartmatic. Who were the product managers, who
    were the lead engineers, who were the lead developers and who were the lead testers? Those
    are all people directly involved in what software features are made available and testing those
    features before they’re out. One of the things I’d want to know is, can you change a vote?
    Whether it’s inside the company on the software or out at a state location where these
    machines are.” (Morning News with Stephanie Myers, One America News Network,
    Interview with Keith Trippie (November 20, 2020)).

   Commentator: “Most claims center around the Canadian-made Dominion voting systems and
    the Venezuelan-made Smartmatic systems. Sidney Powell says the same technology was used
    to secure a victory for Hugo Chavez in Venezuela and could’ve been used across the country.”
    (One America News Network (November 20, 2020)).

   Sidney Powell: “One of its most characteristic features is its ability to flip votes. It can set
    and run an algorithm that probably ran all over the country to take a certain percentage of votes
    from President Trump.” (One America News Network (November 20, 2020)).

   Allan Santos: “And not only this, the Smartmatic company also used to work with Dominion,
    the company system that you are using here. But it’s weird how they operate . . .[B]ack [in]
    2018 [in Brazil], one candidate was then leading and then stopped counting, and after an
    hour, after 40 minutes, something like that, everything changed. And I saw that here and I
    can assure you, companies love fraud election, they love to do fraud.” (One America Evening
    News, One America News Network, Interview with Allan Santos (November 21, 2020)).

   OAN Newsroom: “Smartmatic has faced controversy in the past with allegations of rigging
    the 2013 election in Venezuela to favor socialist President Nicolas Maduro.” (Chairman Of
    Smartmatic’s Parent Company To Become President Of George Soros’s ‘Open Society
    Foundations’,      One    America       News       Network      (December     7,    2020),
    https://www.oann.com/chairman-of-smartmatics-parent-company-to-become-president-of-
    george-soross-open-society-foundations/).

Category 4: False statements and implications regarding Smartmatic’s technology and
software being widely used during 2020 U.S. election
       Smartmatic was the system integrator, manufacturing partner, and software developer for
one county during the 2020 U.S. election – Los Angeles County. Smartmatic is not subcontractor
to any companies doing business in the United States. Its software was not used by any other
company for the 2020 U.S. election, including Dominion. Dominion did not use Smartmatic’s
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software in any county where its voting technology was used in the 2020 U.S. election. Smartmatic
has never provided Dominion with any software, hardware, or other technology. There are no ties
between Smartmatic and Dominion, including ownership ties, software licensing, or business at
all.
       Notwithstanding these readily verifiable facts, OAN reported the following:
   Dan Ball: “[O]bviously these security folks at Dominion that set up the systems in the
    individual states, they can just do a little tweak here, a little tweak there of the program, and
    it can make it so minor, to flip votes, but enough to make your guy win [.]” (Real America,
    One America News Network, Interview with Evi Kokalari-Angelakis (November 19, 2020)).

   Commentator: “Most claims center around the Canadian-made Dominion voting systems and
    the Venezuelan-made Smartmatic systems. Sidney Powell says the same technology was used
    to secure a victory for Hugo Chavez in Venezuela and could’ve been used across the country.”
    (One America News Network (November 20, 2020)).

   Sidney Powell: “One of its most characteristic features is its ability to flip votes. It can set
    and run an algorithm that probably ran all over the country to take a certain percentage of
    votes from President Trump.” (One America News Network (November 20, 2020)).

   OAN Newsroom: “The President’s lawyers are weighing in, once again, on election fraud
    during the 2020 White House race. While speaking in D.C. Thursday, they claimed votes
    were hacked and ballots were switched from President Trump to Joe Biden through
    technology that was developed in Venezuela.” (President’s Lawyers Say Communist-Funded
    Election Software Responsible For Alleged Voting Irregularities, One America News Network
    (November 20, 2020), https://www.oann.com/presidents-lawyers-say-communist-funded-
    election-software-responsible-for-alleged-voting-irregularities/).

   Commentator: “[T]his after reports found Maduro allies were meddling in the latest U.S.
    election through a company called Smartmatic.” (One America News Network (November
    22, 2020)).

   Rudy Giuliani: “Smartmatic, which is the ultimate software, had switched 6,000 votes. It
    switched 6,000 votes from Trump to Biden. So the poor people of Michigan, that went in to
    vote for Trump, ended up voting for Biden because the machine and software, that originates
    with Venezuela, the dictatorship, changed their vote without their ever knowing it.” (One
    America News Network (November 22, 2020)).

   OAN Newsroom: “The move comes after Smartmatic sold voting technology to foreign-
    owned Dominion, which is the controversial software used to count votes in 24 U.S. states
    for the 2020 election. Meanwhile, Smartmatic-tied Dominion voting service is facing
    backlash over what President Trump has described as instances of fraud in the 2020 elections.”
    (Chairman Of Smartmatic’s Parent Company To Become President Of George Soros’s ‘Open
    Society Foundations’, One America News Network (December 7, 2020),
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    https://www.oann.com/chairman-of-smartmatics-parent-company-to-become-president-of-
    george-soross-open-society-foundations/).

Category 5: False statements and implications regarding Smartmatic’s technology and
software being used to fix 2020 U.S. election
        As you know, the members of the Election Infrastructure Government Coordinating
Council (“GCC”) and the Election Infrastructure Sector Coordinating Council (“SCC”) issued a
joint statement on November 12, 2020, concluding as follows: “The November 3rd election was
the most secure in American history. . . There is no evidence that any voting system deleted or
lost votes, changed votes, or was in any way compromised.”
        Moreover, regardless of the above conclusion, Smartmatic developed technology could not
have been used to “fix” the 2020 U.S. election given that technology and software supported by
Smartmatic was only used in one county, Los Angeles County. President-elect Biden won
approximately 71% of the vote in Los Angeles County compared to 27% for President Trump.
This is similar to the voting percentages for the 2016 election, in which Secretary Clinton received
72% of the vote. No one has claimed improprieties relating to the results in Los Angeles County.
       Finally, Smartmatic does not believe that OAN has reviewed or obtained any evidence or
credible source indicating that its technology or software were used to alter, change, eliminate, or
increase votes in Los Angeles County or elsewhere in the 2020 U.S. election. OAN could not have
reviewed or obtained any such evidence because Smartmatic’s technology and software were not
used for that purpose during the 2020 U.S. election or any other election.
       Notwithstanding these readily verifiable facts, OAN reported the following:
   Sidney Powell: “One of its most characteristic features is its ability to flip votes. It can set
    and run an algorithm that probably ran all over the country to take a certain percentage of votes
    from President Trump.” (One America News Network (November 20, 2020)).

   OAN Newsroom: “The President’s lawyers are weighing in, once again, on election fraud
    during the 2020 White House race. While speaking in D.C. Thursday, they claimed votes
    were hacked and ballots were switched from President Trump to Joe Biden through
    technology that was developed in Venezuela.” (President’s Lawyers Say Communist-Funded
    Election Software Responsible For Alleged Voting Irregularities, One America News Network
    (November 20, 2020), https://www.oann.com/presidents-lawyers-say-communist-funded-
    election-software-responsible-for-alleged-voting-irregularities/).

   Commentator: “[T]his after reports found Maduro allies were meddling in the latest U.S.
    election through a company called Smartmatic.” (One America News Network (November
    22, 2020)).

   Rudy Giuliani: “Smartmatic, which is the ultimate software, had switched 6,000 votes. It
    switched 6,000 votes from Trump to Biden. So the poor people of Michigan, that went in to
    vote for Trump, ended up voting for Biden because the machine and software, that originates
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    with Venezuela, the dictatorship, changed their vote without their ever knowing it.” (One
    America News Network (November 22, 2020)).

   OAN Newsroom: “Meanwhile, Smartmatic-tied Dominion voting service is facing backlash
    over what President Trump has described as instances of fraud in the 2020 elections. ‘In
    one Michigan County as an example, that used Dominion Systems, they found that nearly
    6,000 votes had been wrongly switched from Trump to Biden,’ stated the President. ‘And this
    is just the tip of the iceberg, this is what we caught.’” (Chairman Of Smartmatic’s Parent
    Company To Become President Of George Soros’s ‘Open Society Foundations’, One America
    News Network (December 7, 2020), https://www.oann.com/chairman-of-smartmatics-parent-
    company-to-become-president-of-george-soross-open-society-foundations/).

Category 6: False statements and implications regarding Smartmatic’s technology and
software sending votes to foreign countries
       Under County supervision, Smartmatic developed voting technology that was used in Los
Angeles County in the 2020 U.S. election. That technology does not count, tabulate, or store votes.
Vote tabulation, supervision, and oversight is done at a Los Angeles County facility in Downey,
California by County staff. The County owns and operates the voting system, and manages and
secures the count. Smartmatic has no involvement in the tabulation and results reporting
processes. The technology is not controlled by a server located outside the United States and no
votes were or could be transmitted outside the United States.
       Notwithstanding these readily verifiable facts, OAN reported the following:
   Stephanie Hamill: “[S]uggesting that our votes are being counted overseas. That Dominion
    software and Smartmatic software [] are controlled by foreign interests[.]” (In Focus, One
    America News Network, Interview with Joe diGenova (November 20, 2020)).

   Joe diGenova: “I noticed that Dominion software and its other entities issued a statement today
    saying they’re not controlled by foreign entities, etcetera, etcetera. They never denied that the
    votes are actually counted by computers in Frankfurt, Germany and Barcelona, Spain. Ask
    yourself this question: why would any state hire a company which is going to have its vote
    tallies done in Frankfurt, Germany and Barcelona, Spain, where the tallying cannot be
    monitored by any American citizen during the process and where tabulations can be altered
    without the knowledge of anybody.” (In Focus, One America News Network, Interview with
    Joe diGenova (November 20, 2020)).

   Kara McKinney: “We hear about some servers possibly overseas, that at some of this data
    is being routed through, [] you know what’s going on there? It’s so confusing.” (Tipping
    Point, One America News Network, Interview with Kyle Becker (November 22, 2020)).

   Kyle Becker: “It is confusing because [] there are foreign companies that have stations in the
    United States . . . [T]here’s you know SGO Smartmatic has been involved in this and they’re
    from London. They have ties to Venezuela. They’ve been participating in Venezuela. There
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    are ties to [] Germany [,] election reporting servers going through there.” (Tipping Point,
    One America News Network, Interview with Kyle Becker (November 22, 2020)).

Category 7: False statements and implications regarding a relationship between Smartmatic
and the Democratic Party and George Soros
       Smartmatic has no ties to political parties. The company is not political. It has maintained
an independent, apolitical operating philosophy in every country where Smartmatic has provided
technology or services.
       George Soros has no affiliation with the company. He is not an investor, owner, or Board
member. Lord Mark Malloch-Brown sits on the Board of SGO Corporation (Smartmatic’s parent
company) and on the board of more than a dozen organizations. Lord Malloch-Brown is also on
the Board of Open Society Foundation, a philanthropic organization founded by Mr. Soros, and
was recently named president of the Foundation.
       Peter Neffenger is a retired vice admiral of the U.S. Coast Guard. He received the
Department of Homeland Security’s Distinguished Service Medal twice during his time with the
Coast Guard. He also served as the Transportation Security Administration chief from 2015 until
2017. Mr. Neffenger joined President-elect Biden’s transition effort as a volunteer. Alongside
about two dozen others, he will support one of the incoming review teams, assigned to the
Homeland Security Department.
       Notwithstanding these readily verifiable facts, OAN published the following statements to
imply that Smartmatic had an incentive to fix the 2020 U.S. election to favor President-elect Biden:
   Kara McKinney: “It’s also a convenient lie given that Trump attorney Sidney Powell says a
    member of Biden’s transition team is also a member of the board of directors for
    Smartmatic, which is a subsidiary of Dominion.” (Tipping Point, One America News Network
    (November 16, 2020)).

   Kara McKinney: “Let’s go back to Smartmatic for a second. Its chairman is a member of the
    British house of lords – Mark Malloch Brown. He once served as a vice-chairman to George
    Soros investment funds and he’s also held high-ranking positions within the World Bank and
    the World Economic Forum both of which Trudeau mentioned in that address.” (Tipping
    Point, One America News Network (November 16, 2020)).

   Allan Santos: “And the Smartmatic company owner is the Lord Mark Malloch Brown who’s
    also a board member of the opposite side’s foundation. And the one thing, is it’s weird, []
    the Smartmatic official website says they started in Florida back 2000, but the problem is we
    have story in Brazil, Brazilian BBC version, Portuguese, saying [] Smartmatic started in
    Venezuela, not in Florida.” (One America News Network, Interview with Allan Santos
    (November 20, 2020)).

   OAN Newsroom: “Rudy Giuliani, President Trump’s personal lawyer, said the company
    funding the technology has close ties to known communist leaders. ‘The company counting
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    our vote, with control over our vote, is owned by two Venezuelans who were allies of Chavez
    or present allies of Maduro,’ he stated. ‘With a company whose chairman is a close associate
    and business partner of George Soros.’” (President’s Lawyers Say Communist-Funded
    Election Software Responsible For Alleged Voting Irregularities, One America News Network
    (November 20, 2020), https://www.oann.com/presidents-lawyers-say-communist-funded-
    election-software-responsible-for-alleged-voting-irregularities/).

   Allan Santos: “And the Smartmatic company owner is the Lord Mark Malloch Brown who’s
    also a board member of the Open Society Foundation. And the one thing, is it’s weird,[] the
    Smartmatic official website says they started in Florida back 2000, but the problem is we have
    story in Brazil, Brazilian BBC version, Portuguese, saying [] Smartmatic started in Venezuela,
    not in Florida.” (One America Evening News, One America News Network, Interview with
    Allan Santos (November 21, 2020)).

   Allan Santos: “The Smartmatic owner [] is a board member of the Open Society
    Foundations. Of course [], you’re going to see some fact check saying they are not
    connected, he’s just a member of the board, but come on. I mean for us in Brazil it’s very
    clear so how George Soros is helping the Black Lives Matter, he has Open Society
    Foundations, and [] the board member of the Open Society foundation is the owner of this
    Smartmatic, and how can someone tell me they are not connected?” (One America Evening
    News, One America News Network, Interview with Allan Santos (November 21, 2020)).

   Stephanie Myer: “A report Sunday shows foreign-owned Smartmatic licensed a voting
    technology from the controversial company. Smartmatic once owned Sequoia voting systems
    but divested it from its US holdings following in 2007 court’s ruling with Dominion purchasing
    the company in 2010. And while Smartmatic has denied any continued ties, a recently
    resurfaced 2015 interview with chairman Mark Malloch Brown, who’s sat on the board of
    several Soros organizations, shows this was far from the truth, and Smartmatic continued to
    license Dominion technology.” (Morning News with Stephanie Myers, One America News
    Network, Interview with Keith Trippie (November 23, 2020)).

Category 8: False statements and implications regarding security features of Smartmatic’s
technology and software
        Smartmatic designed its technology to enable election stakeholders to audit the entire
process. Smartmatic’s software has been open to audits in all countries where it operates and all
audits have validated the accuracy of the results.
        Moreover, since 2000, Smartmatic’s technology has been used to register and count nearly
5 billion auditable votes without any security breaches. Smartmatic does not rely on a single
security application or off-the-shelf protections. Smartmatic’s systems employ multi-layered
protection strategies, including security fragmentation, security layering, encryption, device
identity assurance, multi-key combinations, and opposing-party auditing.
       Finally, computers have been used for the last 50 years to count votes in the United States.
There is no evidence that any of them have ever been hacked. None of them.
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       Notwithstanding these readily verifiable facts, OAN published the following:
   Dan Ball: “Obviously these security folks at Dominion that set up the systems in the
    individual states, they can just do a little tweak here, a little tweak there of the program, and
    it can make it so minor, to flip votes, but enough to make your guy win [.]” (Real America,
    One America News Network, Interview with Evi Kokalari-Angelakis (November 19, 2020)).

   Joe diGenova: “[T]hese computer systems have a back door so they can be hacked.” (In
    Focus, One America News Network, Interview with Joe diGenova (November 20, 2020)).

   Kyle Becker: “It is confusing because [] there are foreign companies that have stations in the
    United States . . . [T]here’s you know SGO Smartmatic has been involved in this and they’re
    from London. They have ties to Venezuela. They’ve been participating in Venezuela. There
    are ties to [] Germany [,] election reporting servers going through there. All of this is being
    denied, but there’s absolutely zero transparency. These source codes that are used in these
    voting machines are secret and proprietary [.]” (Tipping Point, One America News Network,
    Interview with Kyle Becker (November 22, 2020)).

                               Smartmatic’s Retraction Demand

        Smartmatic believes that OAN did not, and does not, have a good faith basis for any of the
statements and implications made in the Reports regarding Smartmatic. There is no credible
source – documented or otherwise – for any of these false and defamatory statements or
implications. Nonetheless, OAN allowed its reporters, anchors, and on-air guests to make these
false and defamatory statements time and time again. This pattern of behavior qualifies as either
knowingly publishing factually inaccurate information or a reckless disregard for the truth.

        The most obvious transgression is your repeated claims that Smartmatic committed,
perpetrated, and/or participated in a widespread voter fraud scheme for the 2020 U.S. election and
switched votes from President Trump to President-elect Biden. Discovering that this claim was
factually inaccurate and impossible took nothing more than learning whether Smartmatic’s
technology was widely used during the 2020 U.S. election. It was not. It was used in one county.
From this simple truth, it was (or would have been) readily apparent that the statements being
made about Smartmatic were factually inaccurate.

        The damage your disinformation campaign has done, and will do, to Smartmatic is
significant. Smartmatic’s reputation is one of its most valuable commodities. The government
officials who elect to purchase Smartmatic’s technology do so based on their belief and
understanding that Smartmatic’s technology will help them deliver a secure, transparent, and
auditable election. They need the utmost trust in Smartmatic so that voters can have the utmost
trust in the validity of their elections. Your false and defamatory statements undermine the
reputation for reliability that Smartmatic has spent almost 20 years building.

       Making matters worse, OAN used various platforms to disseminate this disinformation
campaign. The Reports were published on your news programs. The Reports were then repeated
and republished on your website (www.oann.com) and further published on Twitter and other
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accounts. The Reports were then further republished, as you knew they would be, by individuals
and other news organizations. As a result, your false and defamatory statements regarding
Smartmatic have irreparably damaged the company’s reputation.

        Beyond the financial harm you have done to Smartmatic, your disinformation campaign
has created personal risk for the men and women who work at the company. Smartmatic and its
employees and management have received countless threats in the wake of your Reports. These
threats have been communicated directly to Smartmatic employees and management across the
globe, including threats of death and personal violence. The social media profiles of the company
and its CEO have been filled with profanities and more threats. Family members, including
children, of Smartmatic’s executives have also received threats to their safety and well-being. That
is another consequence of your actions.
        Now is the time for OAN to start to correct the record. Smartmatic demands that OAN
publish a full and complete retraction of all its false and defamatory statements regarding
Smartmatic, including but not limited to those identified and categorized above. This retraction
must be published on multiple occasions (as were the false and defamatory statements) and across
the various platforms used by OAN to disseminate the false and defamatory statements, including
its morning and evening news programs, its website, and the social media platforms used by OAN
and its reporters and anchors. The prominence of the retraction, including being featured during
prime time slots, must match the attention and audience targeted with the original defamatory
publications. We ask that OAN treat this retraction and the issues raised in this letter with the
attention and seriousness that any reputable business deserves and that you owe to the public as a
responsible journalistic operation.

       Please confirm by December 16, 2020, that OAN will publish this retraction. Smartmatic
reserves all its legal rights and remedies, including its right to pursue defamation and
disparagement claims against OAN and its anchors, reporters, and on-air guests. Accordingly,
please confirm that OAN will preserve all potentially relevant documents and information
regarding the Reports and suspend all document destruction protocols related to these documents
and information. The documents and information are relevant to and necessary for Smartmatic’s
potential claims.

        Finally, Smartmatic requests that you provide it with advance notice of and sufficient time
to respond to any additional assertions on the issues outlined above prior to any broadcast or other
publication. It also requests that any sources OAN intends to rely upon for factual statements
about Smartmatic be properly examined.

       Please direct all future communications on this matter to my attention. I look forward to
your response regarding this important matter.
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                                      Very truly yours,

                                      /s/ J. Erik Connolly

                                      J. Erik Connolly
cc: Ann Schick (via email)
    Alex Smith (via email)
